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5
     Attorney for Defendant
     MELISSSA TORRES
6
                              IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,                        )       No. CR-S-14-097 MCE
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       ORDER
12
     MELISSA TORRES,                                  )
                                                      )       Date: September 10, 2015
13
                                                      )       Time: 9:00 a.m.
             Defendant.                               )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
             The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Melissa Torres, John R.
18

19   Manning, Esq., hereby stipulate the following:

20        1. This matter is currently set for a change of plea on September 3, 2015.
21
          2. By this stipulation, defendant Melissa Torres now moves to continue the change of plea
22
     to September 10, 2015 and exclude time between September 3, 2015 and September 10, 2015
23
     under the Local Code T-4 (to allow defense counsel time to prepare).
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25        3. The parties agree and stipulate, and request the Court find the following:

26           a. Currently, the government has provided in excess of 150 pages of discovery as well
27
                 as 20 DVDs with video.
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           b. Counsel for the defendant needs additional time to meet with the defendant and
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2             review the plea agreement and discuss, in detail, the conditions and consequences

3             contained therein. Counsel further needs additional time to meet with the sentencing
4
              expert appointed by the court in this matter to review, evaluate and perhaps, counter,
5
              the plea agreement provided by the government.
6

7
           c. Counsel for the defendant believes the failure to grant a continuance in this case

8             would deny defense counsel reasonable time necessary for effective preparation,
9             taking into account the exercise of due diligence.
10
           d. The government does not object to the continuance.
11
           e. Based on the above-stated findings, the ends of justice served by granting the
12

13            requested continuance outweigh the best interests of the public and the defendant in a

14            speedy trial within the original date prescribed by the Speedy Trial Act.
15
           f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
16
              Section 3161(h)(7)(A) within which trial must commence, the time period of
17
              September 3, 2015, to September 10, 2015, inclusive, is deemed excludable pursuant
18

19            to 18 United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local

20            Code T-4 because it results from a continuance granted by the Court at the
21
              defendant's request on the basis of the Court’s finding that the ends of justice served
22
              by taking such action outweigh the best interest of the public and the defendant in a
23

24
              speedy trial.

25   ///
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     ///
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     ///

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       3.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
1

2           Speedy Trial Act dictate that additional time periods are excludable from the period within

3           which a trial must commence.
4
     IT IS SO STIPULATED.
5
     Dated: August 24, 2015                                        /s/ John R. Manning
6                                                                 JOHN R. MANNING
7
                                                                  Attorney for Defendant
                                                                  Melissa Torres
8

9    Dated: August 24, 2015                                       Benjamin B. Wagner
10
                                                                  United States Attorney

11                                                                by:/s/ Christiaan Highsmith
                                                                  CHRISTIAAN HIGHSMITH
12
                                                                  Assistant U.S. Attorney
13

14                                               ORDER
15
            IT IS SO ORDERED.
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17   Dated: August 31, 2015
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